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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

 LISA PIAZZA, JOSEPH BORDEN, and                     *
 RICHARD YUNKER,                                     *
                                                     *
                  Plaintiffs,                        *
                                                     *
                  v.                                 *       Civil Action No. 19-cv-11697-ADB
                                                     *
 SANTANDER CONSUMER USA INC. and                     *
 JMAC DISTRIBUTION LLC,                              *
                                                     *
                  Defendants.                        *

                                      SCHEDULING ORDER

BURROUGHS, D.J.

        This Scheduling Order is intended to provide a reasonable timetable for discovery in

order to help ensure a fair and just resolution of this matter without undue expense or delay.

Following a status conference on May 20, 2020, with the agreement of the parties and pursuant

to Rule 16(b) of the Federal Rules of Civil Procedure and Local Rule 16.1(f), it is hereby

ORDERED that:

        1.       Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be served by June 15,

2020.

        2.       All motions to join parties or amend pleadings shall be served by September 14,

2020.

        3.       Initial discovery regarding class certification shall be completed by July 8, 2020.

        4.       Any oppositions to the pending motion for class certification shall be filed by July

22, 2020.

        5.       All fact discovery, including non-expert depositions, shall be completed by

February 1, 2021.
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       6.       The parties shall appear for a status conference before the Court on February 3,

2021 at 10:00 a.m. in Courtroom 17 or by telephone. At that time, the Court will set a deadline

for expert discovery and the filing of dispositive motions, if needed, and will set a date for trial.

       SO ORDERED.

May 20, 2020                                                   /s/ Allison D. Burroughs
                                                               ALLISON D. BURROUGHS
                                                               U.S. DISTRICT JUDGE




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